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6    Attorneys for David A. Birdsell, Trustee
7                                       IN THE UNITED STATES BANKRUPTCY COURT
8                                            FOR THE DISTRICT OF ARIZONA
9    In re:                                                 (Chapter 7 Case)
10   LINDSEY HARDISON aka LINDSEY                           No. 2:14-bk-01152-EPB
     KILPATRICK aka LINDSEY HARDISON
11   KILPATRICK,                                            TRUSTEE’S MOTION TO COMPEL
                                                            DEBTOR TO TURNOVER ESTATE
12                       Debtor.                            PROPERTY
13

14             David A. Birdsell, Chapter 7 Trustee, by and through his attorneys undersigned, herein moves this

15   Court for an Order compelling Debtor to turnover Estate property and comply with her duties. For his

16   Motion, Trustee represents as follows:

17             1. This case was commenced by a voluntary Petition filed by Debtor under Chapter 7 on January

18   29, 2014 (“Petition Date”).

19             2. David A. Birdsell is the duly appointed and acting trustee of the Chapter 7 Estate (hereinafter

20   “Trustee”).

21             3. Among the assets of this Estate are: a) Debtor’s 2013 federal income tax refund received post-

22   petition in the amount of $2,855.00 (“2013 Tax Refund”); and b) the Estate’s portion of Debtor’s 2014

23   federal and state income tax refunds in the amount of $148.58 (“Tax Refunds”) (7.95% * [$673.00 federal

24   refund + $1,197.00 state refund]).

25             4. Trustee made demand for turnover of the 2013 Tax Refund and 2014 Tax Refunds.

26             5. Pursuant to 11 U.S.C. §521, the Debtor is required to "cooperate with the trustee as necessary

27   to enable the trustee to perform the trustee's duties" and to "surrender to the trustee, all the property of the

28   estate". Pursuant to 11 U.S.C. §542, the Debtor has a duty to turn over the 2013 Tax Refund and 2014
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 Case 2:14-bk-01152-EPB                   Doc 30 Filed 08/14/15 Entered 08/14/15 15:57:20            Desc
                                           Main Document    Page 1 of 2
 1   Tax Refunds.
 2             6. Trustee requests that that interest on the amount due, until paid, shall accrue at the rate set
 3   forth in 28 U.S.C. §1961.
 4             WHEREFORE, David A. Birdsell, Trustee, respectfully requests for an Order of this Court
 5   directing:
 6                       A.         Debtor to turn over to the Trustee the aggregate value of the 2013 Tax Refund and
 7                                  2014 Tax Refunds in the amount of $3,003.58 within fourteen (14) days of the date
 8                                  of the Order directing turnover;
 9                       B.         That interest will accrue on the amount due at the rate set forth in 28 U.S.C.
10                                  §1961; and,
11                       C.         For such other and further relief as the Court deems just and proper.
12                       RESPECTFULLY SUBMITTED this 14th day of August, 2015.
13

14                                                         LANE & NACH, P.C.

15                                                  By /s/ JCS – 029750
                                                            Adam B. Nach
16                                                          Jonathan C. Simon
                                                           Attorneys for Trustee
17   Copy of the foregoing mailed first class mail to:

18   Lindsey Hardison
     1319 E. Halifax
19   Mesa, AZ 85203
     Debtor
20
     COPY of the foregoing delivered via electronic notification to:
21
     Adam E. Hauf
22   Hauf Law, PLLC
     4225 W. Glendale Ave., Suite A-104
23   Phoenix, AZ 85051
     Email: adam@hauflaw.com
24   Attorney for Debtor

25   Office of U.S. Trustee
     230 North First Avenue
26   Phoenix, AZ 85003
     Email: Larry.Watson@usdoj.gov
27   By /s/ Stephanie Anderson

28
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 Case 2:14-bk-01152-EPB                  Doc 30 Filed 08/14/15 Entered 08/14/15 15:57:20                    Desc
                                          Main Document    Page 2 of 2
